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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                           Case No. 09-CR-865 JEC

CAROLYNNE TILGA, MICHAEL
CHANDLER, AND HELEN GEER,

       Defendants.

                          MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on the Motion and Incorporated Memorandum

of Law by Defendant Carolynne Tilga to Suppress Illegal Evidence Obtained from David Warga,

and, in the Alternative, to Dismiss the Indictment (Doc. 76) (“Motion”), filed October 15, 2009.

Having reviewed the parties’ submissions, held a hearing on the Motion on January 27, 2010,

and being otherwise fully informed, the Court will DENY the motion, as set forth below.

I.     BACKGROUND

       Defendant Tilga is charged with five counts of tax evasion and conspiracy to defraud the

United States. Indictment (Doc. 1). She claims the Internal Revenue Service (IRS) commenced

its investigation of her in 2003 as a result of a letter and documents received from David Warga,

a Canadian attorney with whom Defendant Tilga contends she had an attorney-client

relationship. Motion at 2. As relief from the alleged breach of her attorney-client privilege,

Defendant Tilga requests the Government to perform “a ‘taint’ function to make certain that the

proofs it seeks to admit into evidence are not Protected Materials or the ‘fruits’ thereof, and were

obtained by independent means.” Id. at 4. Alternatively, Defendant Tilga requests dismissal of

the entire Indictment. Id. at 5.
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       The Government acknowledges that the IRS received two letters from David

Warga—one sent to its criminal side and dated April 8, 2003 and one sent to its civil side dated

May 9, 2003. Hearing Transcript at 10. Nonetheless, it contends the Motion should be denied

for four reasons: (1) Defendant Tilga has not demonstrated that she had an attorney-client

relationship with Warga; (2) Warga’s letters and the documents enclosed do not disclose any

protected communications with Tilga; (3) Warga’s disclosures described criminal conduct by

Tilga, which cannot be protected by the attorney-client privilege; and (4) even if Warga’s

disclosures were improper and excluded from evidence, the Government would inevitably have

discovered information sufficient to support the Indictment in this case. Resp. at 1-2. As to its

fourth point, the Government notes that the IRS was independently investigating the

Commonwealth Trust Company (“CTC”) in 2002, before Warga’s letters were received. Id. at 2.

CTC is the company that assisted Defendants Tilga and Chandler in creating various trusts and

companies in which she allegedly hid assets in order to avoid paying taxes. Indictment (Doc. 1)

at ¶¶ 9-10. In July 2003, a search warrant executed on CTC premises in Albuquerque revealed

incriminating evidence against Defendants Tilga and Chandler. Resp. at 4.

II.    FINDINGS OF FACT

       Rule 12(d) of the Federal Rules of Criminal Procedure requires the Court to “state its

essential findings on the record” when there are factual issues involved in deciding a pre-trial

motion. FED.R.CRIM.P. 12(d). I find the following facts relevant to the instant Motion:

       Defendant Tilga was a business partner of Peter Zicherman and Fernando Pereira. (Docs.

Rec’d from Warga, irs2/00229-irs2/00230 and irs2/00532). This partnership developed into an

elaborate network of interrelated companies. (Id. at irs2/00230).


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       In 1996, Warga drafted a Unanimous Shareholders’ Agreement between entities

controlled by Tilga, Zicherman, and Pereira to serve as written evidence of the partnership

between Tilga, Zicherman, and Pereira. (Id. at irs2/00545).

       On or about September 9, 2002, Tilga brought suit in the Ontario Supreme Court of

Justice against Zicherman, Pereira, and Warga, among others, claiming that Zicherman and

Pereira excluded her from profits and otherwise breached fiduciary duties owed to her. (Id. at

irs2/00562).

       Tilga’s Ontario Complaint alleges that Warga is a Canadian attorney who has, from time

to time, provided legal advice and services to the partnership between herself, Zicherman, and

Pereira. (Id. at irs2/00534).

       On or about March 14, 2003, an entity controlled by Tilga (One World Media LLC)

brought suit against David Warga, among others, alleging that he participated in a restructuring

of business interests to eliminate Tilga’s interest and profits therein. (Id. at irs2/00219-

irs2/00250).

       The Complaint authored by Tilga’s company, One World Media LLC, asserts that Warga

is a Canadian attorney and characterizes him as “instrumental in designing and constructing the

corporate framework” of Giant Sun Group and its successors in interest, but the Complaint does

not assert any attorney-client relationship between Tilga and Warga. (Id. at irs2/00227).

       Defendant Tilga characterizes the nature of the advice she sought from Warga as follows:

                       Mr. Warga gave me advice regarding my personal
                       business dealings and the companies. He helped me
                       from time to time with employee conflicts; potential
                       acquisitions and sales of the companies as they
                       related to my participation; various instances of
                       threats from angry affiliates and people were

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                       personally threatening me. And I spoke to him as
                       often as I felt necessary with situations that
                       involved both the company and my personal
                       involvement therein.

Hearing Transcript at 17.

       According to Tilga, Warga also advised her about certain outside contractors who

became angry at her because they felt they were unfairly treated. Id. at 18.

       Tilga further notes her discussions with Warga regarding Simple.com, stating that she

talked to him about “business structure; potential outcome for shareholders; contract negotiations

with the potential acquiring companies.” Id. at 19.

       According to Tilga’s Ontario Complaint, Simple.com is a United States corporation

controlled by Walter Holdings, Inc., which is a Barbados corporation controlled by Tilga

(37.5%), Zicherman (37.5), and Pereira (25%). (Warga Docs. at irs2/00537).

       Tilga also testifies that she consulted Warga “about my personal credit situation and how

that would affect any future capital raising or representation from me personally as far as

continuing in acquisition for further capital development mode for these various entities.”

Hearing Transcript at 20.

       Finally, Tilga explains that Warga followed up with her personally after meetings in

which distributions were discussed, to talk to her “about how those cash flow scenarios or

situations would affect me as a consultant, shareholder, in any manner the participant I was for

the various entities.” Id. at 20-21.

III.   DISCUSSSION

       “Privileges in federal-question cases generally are ‘governed by the principles of the

common law as they may be interpreted by the courts of the United States in the light of reason

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and experience.’” In re Qwest Commc'n Int'l. Inc., 450 F.3d 1179, 1184 (10th Cir.2006)

(quoting FED.R.EVID. 501). Such privileges are not to be construed expansively. Trammel v.

United States, 445 U.S. 40, 50, 100 S.Ct. 906, 63 L.Ed.2d 186 (1980) (cautioning that privileges

“must be strictly construed and accepted ‘only to the very limited extent that permitting a refusal

to testify or excluding relevant evidence has a public good transcending the normally

predominant principle of utilizing all rational means for ascertaining truth’” (internal quotations

omitted)).

       The oldest privilege for confidential communications in the common law, the attorney-

client privilege is designed “to encourage full and frank communication between attorneys and

their clients and thereby promote broader public interests in the observance of law and

administration of justice.” Upjohn Co. v. United States, 449 U.S. 383, 389, 101 S.Ct. 677, 66

L.Ed.2d 584 (1981). “[T]he privilege will only be recognized when ‘the communication

between the client and the attorney is made in confidence of the relationship and under

circumstances from which it may reasonably be assumed that the communication will remain in

confidence.’” United States v. Ary, 518 F.3d 775, 782 (10th Cir. 2008) (quoting In re Qwest, 450

F.3d at 1185 (quotation omitted)).

       A.      Warga Was Not Tilga’s Attorney.

       Tilga, as the party seeking to assert the attorney-client privilege, has the burden of

establishing its applicability. In re Grand Jury Proceedings, 144 F.3d 653, 658 (10th Cir. 1998)

(citing Motley v. Marathon Oil Co., 71 F.3d 1547, 1550 (10th Cir.1995)). “Special problems”

arise in determining the existence of an attorney-client relationship where, as here, the attorney




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at issue represented an entity1 rather than an individual. Id. (quoting Commodity Futures

Trading Comm’n v. Weintraub, 471 U.S. 343, 348, 105 S.Ct. 1986, 85 L.Ed.2d 372 (1985)).

Namely, “[a]ny privilege resulting from communications between corporate officers and

corporate attorneys concerning matters within the scope of the corporation’s affairs and the

officer’s duties belongs to the corporation and not to the officer.” Id. (citations omitted). Thus,

it is likely that any privilege as to communications between Tilga and Warga would belong to

the partnership rather than Tilga individually.

       A privilege owned by individuals such as Tilga, i.e., corporate officers who seek to assert

privilege as to conversations with corporate counsel, may exist only in limited circumstances.

               First, they must show they approached [counsel] for the purpose of
               seeking legal advice. Second, they must demonstrate that when
               they approached [counsel] they made it clear that they were
               seeking legal advice in their individual rather than in their
               representative capacities. Third, they must demonstrate that the
               [counsel] saw fit to communicate with them in their individual
               capacities, knowing that a possible conflict could arise. Fourth,
               they must prove that their conversations with [counsel] were
               confidential. And, fifth, they must show that the substance of their
               conversations with [counsel] did not concern matters within the
               company or the general affairs of the company.

Id. at 659 (quoting United States v. Int’l Bhd. of Teamsters, 119 F.3d 210, 215 (2nd Cir. 1997).

Moreover, while Tilga may have reasonably believed that Warga was her attorney as an


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         The Court finds no basis upon which to distinguish a corporation from the partnership at
issue in this case. Supreme Court Standard 503(a)(1) defines the client as “a person, public
officer, or corporation, association, or other organization or entity, either public or private, who
is rendered professional legal services by a lawyer....” See also Weinstein's Evidence ¶
503(a)(1)[01], at 503-20 (noting that the phrase “organization or entity” includes, at a minimum,
partnerships); RESTATEMENT OF THE LAW GOVERNING LAWYERS § 123 cmt. c (Tent.Draft No. 2,
1989) (“Once it is recognized ... that the privilege applies to the corporate form of organization
there seems no basis for limiting it to corporations, as distinct from unincorporated associations,
partnerships, or sole proprietorships”).

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individual, her reasonable belief “is not sufficient here to create a personal attorney-client

privilege.” Id. (emphasis in original).

       Applying the five-part test above to the present case, the fifth factor quite clearly has not

been met. Tilga’s testimony as to the advice she sought from Warga shows that their

conversations concerned matters within the general affairs of Tilga’s partnership with Zicherman

and Pereira. For instance, Tilga testified that Warga gave her advice in dealing with “employee

conflicts; potential acquisitions and sales of the companies as they related to my participation;

various instances of threats from angry affiliates and people that were personally threatening

me.” Hearing Transcript at 17. She explains further that “I spoke to [Warga] as often as I felt

necessary with situations that involved both the company and my personal involvement therein.”

Id. Although Tilga says she had many discussions with Warga regarding Simple.com—about its

business structure and the possible sale of its intellectual property, including potential outcome

for shareholders and negotiations with potential buyers—this was an entity owned not by Tilga

as an individual but by the partnership between Tilga, Zicherman, and Pereira. Hearing

Transcript at 19; Warga Docs. at irs2/00537. Similarly, whereas Tilga says she “talked to Warga

in depth about her personal credit situation,” it is clear from her testimony that the focus of those

discussions was on the effect of Tilga’s credit upon future capital raising for the partnership.

Hearing Transcript at 20. Likewise, Tilga testified that Warga consulted with her regarding cash

flow scenarios and distributions from the partnership or its various entities to Tilga. Id. In short,

Defendant Tilga has failed to show that the substance of her conversations with Warga did not

concern matters within the company. To the contrary, Tilga’s testimony shows that her

discussions with Warga concerned her personal circumstances only as they related to her


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partnership with Zicherman and Pereira.

       B.      No Evidence of Confidential Communications Exists.

       For the attorney-client privilege to apply, Tilga must show that her communications with

Warga were “made in confidence of the relationship and under circumstances from which it may

reasonably be assumed that the communication will remain in confidence.’” United States v. Ary,

518 F.3d 775, 782 (10th Cir. 2008) (quoting In re Qwest, 450 F.3d at 1185 (quotation omitted)).

Tilga’s testimony fails to reveal any topics of consultation that could reasonably be expected to

remain confidential. The employee and affiliate conflicts Tilga mentions should certainly be

expected to become public knowledge—perhaps particularly to Tilga’s business partners. Sales

of companies within the partnership or of partnership assets would also naturally become known

outside of Tilga and Warga alone. Tilga’s personal credit issues should also have been

reasonably assumed to become public knowledge in the event that they became a problem for

further capitalization of the businesses.

       Separate and apart from these matters, the documentation provided by Warga to the IRS

reveals none of the allegedly confidential communications testified to by Tilga. By the Court’s

calculations, over half of the approximately 500 pages of documents provided by Warga are

simply pleadings or deposition testimony from other litigation involving Tilga and Warga.

Nearly 150 additional pages appear to be public-record-type documents, relating to Tilga’s trusts

and real estate ownership. Additional documents are either communications from Tilga to others

within the partnership structure or printouts of internet research presumably performed by

Warga. The Court has found no reference to any conversations between Warga and Tilga.

       Even if there were evidence to suggest an attorney-client relationship in this case, neither


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Defendant Tilga’s testimony nor any of the documentation provided by Warga provides any

indication of confidential communications that would generally be protected by the attorney-

client privilege.

IV.      CONCLUSION

         In summary, the Court finds that the attorney-client privilege was not offended by

Attorney David Warga’s communications with the IRS. Not only was there no attorney-client

relationship between Warga and Defendant Tilga, but the Court also finds no evidence that any

confidential communications between Tilga and Warga were disclosed.

         IT IS THEREFORE ORDERED that the Motion and Incorporated Memorandum of Law

by Defendant Carolynne Tilga to Suppress Illegal Evidence Obtained from David Warga, and, in




the Alternative, to Dismiss the Indictment (Doc. 76) (“Motion”), filed October 15, 2009, is

DENIED.

         Dated February 17, 2010.

                                              s/John Edwards Conway


                                              SENIOR UNITED STATES DISTRICT JUDGE

Counsel for Plaintiff:


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